                 Case 4:19-cv-02173 Document 1-3 Filed on 06/17/19 in TXSD Page 1 of 29



  Cause no. 19-05-07232 410th Judicial District Court

                                                  Clerk's Certificate of Service by Certified Mail:


  I, Melisa Miller, Qerk of the District Courts of Montgomery County, Texas, certify that, in cause no. 19-05-07232,1
  executed the foregoing citation in Montgomery County, Texas on this the 28th day of May,2019,byplacing in the
  United States Mail a true copy of this citation, with a true copy of the Plaintiff's Original Petition attached thereto,
  via certified mail no.92147969009997901628112649 and addressed to


  Hartford Lloyd's Insurance Company
  through its registered agent CT Corporation System
  1999 Bryan Street Suite 900
  Dallas TX 75201-3136


  and endorsed thereon"RETURN RECEIPT REQUESTED";to certify which witness my hand officially May 28,
  2019.


                                                                                                                                         'Melisa Miller, District Gerk
                                                                                                                                           Montgornery County, Texas


  /-• A %                                                                                                       By:
                                                                                                                                                        Katelyn Best

'^                                         ^




                                                       U.S. Postal Service""                                             T
                                                       CERTIFIED MAIL® RECEIPT
                                                       Domestic Mall Only
                                                       For delivery information, visit our website at www.usps.com®


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I, Melisa Miller, do hereby Certify_j—                Total PosUgeatjItf^
pages in                      being a                                                                                                    to
                                                                          $6,800
true and correct copy of the Original                 SerrtTb
                                                                                                                                         CM
                                                                                                                                         r..


Record now on file in the District Clerk's            Street, Apt. No.,               Hartford Lloyd's Irtsurance Company                0=
Office of Montgomery County, Texas.                   orPOBoxNo.                      By Sorving Registered Agent CT Corporation         OOM
                                                      City. State, Zip*4              System
Witness Mv Olficial Seal olflllice in Contoe, Texas                                   1999 Bryan Street, Suite 903

On This thell_Day n^pi                                                                                                for Instructions   oc


                       1 ruLA.ejtx^Y'.Deputv
          Case 4:19-cv-02173 Document 1-3 Filed on 06/17/19 in TXSD Page 2 of 29


                                                         CITATION
                                                    Cause Number: 19-05-07232


Clerk of the Court                                               Attorney Requesting Service
Melisa Miller                                                    Aaron Bender
P.O. Box 2985                                                    2211 Norfolk St
Conroe, Texas 77305                                              Suite 800
                                                                 Houston TX 77098

                                           THE STATE OF TEXAS

NOTICE TO DEFENDANT:You have been sued. You may employ an attorney. If you oryour attorney
does not file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next
following the expiration of twenty days after you were served this citation and petition, a default judgment
may be taken against you.

To:    Hartford Lloyd's Insurance Company
       Through its registered agent CT Corporation System
       1999 Bryan Street Suite 900
       Dallas TX 75201-3136



You are hereby commanded to appear by filing a written answer to the Plaintiffs Original Petition at or
before 10:00 A.M. of the Monday next after the expiration of twenty days after the date of service of this
citation before the Honorable 410th Judicial District Court Montgomery County,Texas at the Courthouse
of said County in Conroe, Texas.

Said Plaintiffs Original Petition was filed in said court on this the 24th day of May,2019 numbered 19-05-
07232 on the docket of said court, and styled, Thomas R. Bobo VS. Hartford Lloyd's Insurance Company

The nature of plaintiffs demand is fully shown by a true and correct copy of the Plaintiffs Original
Petition accompanying this citation and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements oflaw, and the
mandates thereof, and make due return as the law directs.

Issued and given under my hand and seal of said Court at Conroe,Texas on this the 28th day of May,2019.


                                                                      Melisa Miller, District Clerk
                                                                      Montgomery County,Texas
                                                                         f/c user; KB
                                                                     By. Issued 05/28/2019 13:22:38
                                                                      Katelyn Best, Deputy


             I, Melisa Miller, do hereby Certify_^,2_
             pages in Caw                  being a
             true and correct copy of the Original
             Record now on file in the District Clerk's
             Office of Montgomery County, Texas.
             Witness My OHicial Seal olfllflce in Conme,Texas
             On This thell Day of                    Cf\\ ^
          Case 4:19-cv-02173 Document 1-3 Filed on 06/17/19 in TXSD Page 3 of 29

                                         OFFICER'S RETURN
Cause No.19-05-07232                     Court No:410th Judicial District Court
Style: Thomas R. Bobo VS. Hartford Lloyd's Insurance Company
To:         Hartford Lloyd's Insurance Company
Address:    Through its registered agent CT Corporation System
            1999 Bryan Street Suite 900
              Dallas TX 75201-3136


Came to hand the       day of              ,20 , at           o'clock, and executed in
County,Texas by delivering to each of the within named defendants in person, a true copy of this citation
with the date of delivery endorsed thereon, together with the accompanying copy of the Plaintiffs
Original Petition at the following times and places, to wit:
Name                  Date/Time             Place, Course and distance from Courthouse


Manner of service:
                                                                                                           o
                                                                                                               a

*And not executed as to the defendants(s)                                                                      ^
The diligence used in finding said defendant(s) being:
                                                                                                               ^
And the cause of failure to execute this process is:                                                       -3 ^
                                                                                                           C3 ^
                                                       i                 i
And information received as to the whereabouts of said defendant(s) being:                                 g 'to
                                                                                                       :j—     cr

FEES:                                                                                                  ^
Serving Petition and Copy $
                                                                                    OFFICER
TOTAL                        $
                                                                                  .County, Texas
                                                           By:                          ,Deputy

AFFIANT
Complete if you are a person other than a Sheriff, Constable, or Clerk of the Court. In accordance with
Rule 107: the officer, or authorized person who services, or attempts to serve a citation shall sign and
return. The return must either be verified or be signed under penalty of perjury.

A return signed under penalty of perjury must contain the
statement below in substantially the following form:
My full name is                                                   Declarant/Authorized Process Server
My date of birth is   / /          and my address is
                                                                  ID# & Exp. Of Certification
I DECLARE UNDER PENALTY OF PERJURY THAT THE
FOREGOING IS TRUE AND CORRECT                                     SWORN AND SUBSCRIBED ON
Executed in                      ,County, State of
          ,on the         day of                 ,20
                                                                  DATE


Declarant/Authorized Process Server

ID# & Exp. Of Certification                                       NOTARY
          Case 4:19-cv-02173 Document 1-3 Filed on 06/17/19 in TXSD Page 4 of 29
                                                                                                  Received and E-Flled for Record
                                                                                                                5/24/2019 3:01 PM
                                                                                                        Melisa Miller, District Clerk
                                            Request for Service                                       Montgomery County, Texas
                                                                                                      Deputy Clerk, Robin Carson
                                    Montgomerv County District Clerk

                 19-05-07232                                      Montgomery County - 410th Judicial District Court
CASE NUMBER:                                  CURRENT COURT:



Name(s)of Documents to be served: Plaintiffs Original Petition



FILE DATE of document(s)to be served:          05/24/2019               Month/Day/Year
SERVICE TO BE ISSUED ON (Please List Exactly as The Name Appears In The Pleading to Be Served):
Issue Service to: Hartford Lloyd's Insurance Company
Address of Service:.   1999 Bryan Street, Suite 900

City, State & Zip:      Dallas, Texas 75201-3136

Agent (If applicable): CT Corporation System
   I I Check here to have citation addressed to wherever the addressee may be found.
TYPE OF SERVICE/PROCESS TO BE ISSUED:(Check the appropriate box)

I I Citation for Personal Service           Secretary of State Citation ($12.00)
I I Citation by Posting                     Highway Commission ($12.00)                   I I Certlorarl
I I Citation by Publication                 Commissioner of Insurance ($12.00)            I I Precept
I I Citation Scire Facias                   Hague Convention ($16.00)                     I I Subpoena
I I Writ of Garnishment                     Capias(not an E-lssuance)                     I I Other(Please
I I Writ of Sequestration                   Temporary Restraining Order(Family)           Describe)
I I Writ of Attachment                      Temporary Ex Parte Protective Order           **Cltation by certified mail

I I Writ of Habeas Corpus                    Notice of Appl. For Protective Order
I I Notice of Hearing/Show Cause             Notice of Foreign Judgment(UIFSA)            (See additional Forms for
I I Regular Mall(only available for          Notice of Foreign Judgment(UCGEA)            Post Judgment Service)
Expedited Foreclosures and UIFSA            (by certified mall service)
Foreign Judgments

SERVICE BY:(Check the appropriate box.)

I I E-lssuance by District Clerk(No Service Copy Fees Charged)(Note:)CAPIAS Is not an E-lssuance Option
^Citations returned electronically will be e-served through E-flle Texas to requesting attorney/pro se.
I I ATTORNEY PICK-UP(phone or email contact):
I I MAIL to attorney at Attorney of Record's address on file In case record.
Q CERTIFIED MAIL by District Clerk
I I CIVIL PROCESS SERVER - Authorized Person to Pick-up:                               Phone:
I I OTHER,explath:            •' ' : '
Issuance of Service requested by:
Attorney/Party Name: Aaron Benden DALY & BLACK, P.O.                      Bar# or ID: 24101502
Mailing Address: 2211 Norfolk Street, Suite 800, Houston, Texas 77098
Phone Number:        713.655.1405
Case 4:19-cv-02173 Document 1-3 Filed on 06/17/19 in TXSD Page 5 of 29




                                            1, Melisa Miller,^ here^ CertiW-i—
                                            pages in                                 ®
                                            true and correct copy of the Original
                                            Record now on file in the District Clerk s
                                            Office of Montgomery County, Texas.
                                            Witness My Official Seal oi^ce in Conjfte, Texas
                                            On This the[_k^Day
                                            Sy,                  ^itk^i^eputy
                  Case 4:19-cv-02173 Document 1-3 Filed on 06/17/19 in TXSD Page 6 of 29
                                                              Civil Case Information Sheet                                                                 Received and E-Flled for Record
                                                                                                       Montgomery County 410th Judicial District Court5/24/2019 3:01 PM
                                                         19-05-07232                                      Court(for clerk use only):          Mellsa Miller, District Clerk
           Cause Number(for clerk use only)-.
                                                                                                                                                                Montgomery uounty, Texas
              Styled      THOMAS R. BOBO VS. HARTFORD LLOYD'S INSURANCE COMPANY                                                                                 Deputy Clerk, Robin Carson
                                (e.g., John Smith v. All American Insurance Co; In re Maty Ann Jones; In the Matter ofthe Estate ofGeorge Jackson)
A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforcement is fil^ in a family law case. The information should be the best available at
the time offiling.
1. Contact Information for person completing case information sheet;                 Names of parties in case;                                    Person or entity completing sheet is;
                                                                                                                                                13Attorney for PlaintifCPetitioner
Name:                                     Email;                                     Plaintiff(s)/Petitioner(s):                                □Pro Se PlaintifB'Petitioner
                                                                                                                                                □Title IV-D Agency
 Aaron RenHftr                            ecf sodalyblack.com                          THOMAS R. BOBO                                           □Other:

Address:                                  Telephone;
                                                                                                                                                Additional Parties in Child Support Case:
2211 Norfolk St., Ste 800                  (713) 655-1405
                                                                                     Defendant(s)/Respondent(s):                                Custodial Parent:
City/State/Zip:                           Fax:
                                                                                         HARTFORD LLOYD'S
Houston, Texas 77098                       (713) 655-1587                                INSURANCE COMPANY                                      Non-Custodial Parent:

Signature;                                State Bar No:
                                                                                                                                                Presumed Father:
 As/ Aaron Bender                         24101502
                                                                                     [Attach additional page as necessary to list all panies]

_2J[ndirate£ase^ge20rjdrati^Jhemosth^ortentiKueJn^erase_^»fetfonf^i^
                                                 Civil                                                                                              Family Law
                                                                                                                                                            Post-judgment Actions
             Contract                     Injury or Damage                         Real Property                         Marriage Relationship                      (non-Title IV-D)
Debt/Contract                       □Assault/Battery                        □ Eminent Domain/                           □ Annulment                         □ Enforcement
  H Consumer/DTP A                  □Construction                              Condemnation                             □ Declare Marriage Void             □ Modification—Custody
  □ Debt/Contract                   □ Defamation                            □ Partition                                 Divorce                             □ Modification—Other
  □ Fraud/M isrepresentation        Malpractice                             □Quiet Title                                    □ with Children                           TlUelV-D
  □Other Debt/tTontract:               □Accounting                          □Trespass to Try Title                          □No Children                    □ Enforcement/Modification
                                       □legal                               □other Property:                                                                □ Paternity
Foreclosure                           □Medical                                                                                                              □Reciprocals (UIFSA)
  □Home Equity—Expedited              □Other Professional                                                                                                   □Support Order
  □Other Foreclosure                      Liability:
□ Franchise                                                                     Related to Criminal
□ Insurance                         □Motor Vehicle Accident                           Matters                                Other Family Law                Parent-Child Relatioiishlp
□ Landlord/Tenant                   □Premises                               □ Expunction                                 □ Enforce Foreign                  □ Adoption/Adoption with
□Non-Competition                    Product Liability                       □Judgment Nisi                                   Judgment                          Termination
□ Partnership                         □Asbestos/Silica                      □Non-Disclosure                              □Habeas Corpus                     □child Protection
□other Contract:                      □Other Product Liability              □ Seizure/Forfeitine                         □Name Change                       □Child Support
                                          List Product:                     □ Writ of Habeas Corpus—                     □Protective Order                  □Custody or Visitation
                                                                               Pre-indictment                            □Removal of Disabilities           □Oestational Parenting
                                    □Other Injury or Damage:                □other:                                          of Minority                    □Grandparent Access
                                                                                                                         □other:                            □ Parentage/Paternity
                                                                                                                                                            □Termination of Parental
                                                                                                                                                               Rights
           Employment                                            Other CivO
                                                                                                                                                            □Other Parent-Child:
□ Discrimination                     □Administrative Appeal                 □ Lawyer Discipline
□ Retaliation                        □ Antitrust/Unfair                     □ Perpetuate Testimony
□Termination                           Competition                          □ Securities/Stock
□Workers' Compensation               □Code Violations                       □Tortious Interference
□Other Employment:                   □Foreign Judgment                      □Othen
                                     □intellectual Property

                  Tax                                                                         Probate & Mental Health
 □Tax Appraisal                      Probate/Wills/lntestate Administration                                     □Guardianship—Adult
 □Tax Delinquency                       □Dependent Administration                                               □Guardianship—Minor
 □Other Tax                             □ independent Administration                                            □Mental Health
                                        □other Estate Proceedings                                               □other

3. Indicate procedure or remedy. If applicable (mi^, sdec^ore than 1):
 □ Appeal fix)m Municipal or Justice Court                   □ Declaratory Judgment                                                 □Prejudgment Remedy
 □ A^itration-related                                        □Garnishment                                                           □Protective Order
 □Attachment         ,                                       □ interpleader                                                         □Receiver
 □Bill of Review                                             □ License                                                              □Sequestration
 □Certiotari        '                                        □ Mandamus                                                             □Temporary Restraining Order/Injunction
 □class Action . . :                            □ Post-judgment                                                                     □Turnover
4. Indicate damaRe^usM^Cda'aoCstel^ifHisafamilylaivease):
 □ Less than S 100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
 □ Less than S100,000 and non-monetary relief
 □Over S100,000 but not more than S200,000
 □ Over S200;000 but not more than S1,000,000'
 □Over $1,000,000
                                                                                                                                                                               Rev 2/13
Case 4:19-cv-02173 Document 1-3 Filed on 06/17/19 in TXSD Page 7 of 29




                                              i, Melisa Miller, do hereby Certify I
                                              pages In Caus/?feS2fi-£2>as being a
                                              true and correct copy of the Original
                                              Record now on file in the District Clerk's
                                              Office of Montgomery County, Texas.
                                              Witness My Official Seal office in Conroe, Texas
                                              On This tt^h Day                    ,^1 ^
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  Case 4:19-cv-02173 Document 1-3 Filed on 06/17/19 in TXSD Page 8 of 29
                                                                                         Received and E-Filed for Record
                                                                                                     5/24/2019 3:01 PM
                                                                                               Mellsa Miller, District Clerk
                                                                                             Montgomery County, Texas
                                                                                             Deputy Clerk, Robin Carson

                                 CAUSE NO.19-05-07232
 THOMAS R. BOBO,                                     §       IN THE DISTRICT COURT OF
                                                     §
        Plaintiff,                                   §
                                                     §
 vs.                                                 §       MONTGOMERY COUNTY.TEXAS
                                                     §
 HARTFORD LLOYD'S INSURANCE                          §         Montgomery County - 410th Judicial District Court
 COMPANY,                                            §
                                                     5                    JUDICIAL DISTRICT
        Defendant.                                   §

                           PLAINTIFF'S ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:


       Thomas R. Bobo ("Mr. Bobo"), Plaintiff herein, files this Original Petition against

Defendant Hartford Lloyd's Insurance Company ("Hartford") and, in support of his causes of

action, would respectfully show the Court the following:

                                                I.
                                        THE PARTIES


       1.      Thomas R. Bobo is a Texas resident who resides in Montgomery Coimty, Texas.

       2.      Hartford is an insurance company doing business in the State of Texas which may

be served through its registered agent for service of process in the State ofTexas, CT Corporation

System, via certified mail at 1999 Bryan Street, Suite 900, Dallas, Texas 75201-3136.
                                                                                                            cr

                                               II.                                                          I

                                         DISCOVERY                                                       o
                                                                                                                 tj
                                                                                                        >1        CO
                                                                                                                  cm
                                                                                                                  CJ
       3.      This case is intended to be governed by Discovery Level 2.
                                                                                                         o        CO
                                                                                                                  c_
                                                                                                         o        ZD

                                                                                                         v>       tzs
                                                                                                         CJ

                                                                                                       -o
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                                                                                                        »
  Case 4:19-cv-02173 Document 1-3 Filed on 06/17/19 in TXSD Page 9 of 29




                                                III.
                                     CLAIM FOR RELIEF



       4.      The damages sought are within the jurisdictional limits of this court. Plaintiff

currently seeks monetary relief over $100,000, but not more than $200,000, including damages of

any kind, penalties, costs, expenses, pre-judgment interest, and attorney's fees.

                                                IV.
                                JURISDICTION AND VENUE


       5.      This court has subject matter jurisdiction of this cause of action because it involves

an amount in controversy in excess of the minimum jurisdictional limits of this Court.

       6.      Venue is proper in Montgomery County because all or a substantial part of the

events or omissions giving rise to the claim occurred in Montgomery County. Tex. Civ. Prac &

Rem Code § 15.002(a)(1). In particular, the loss at issue occurred in Montgomery County.

                                                 V.
                                  FACTUAL BACKGROUND


       7.      Mr. Bobo is a named insured under a property insurance policy issued by Hartford.

       8.      On or about August 25-30, 2017, Hurricane Harvey hit the Texas coast, which

included the Spring, Texas area, damaging Mr. Bobo's house and other property. Mr. Bobo g
                                                                                                         cj
subsequently filed a claim on his insurance policy.                                                     .*=>
                                                                                                               cn


       9.      Defendant improperly denied and/or underpaid the claim.                                         ^

       10.     The adjuster assigned to the claim conducted a substandard investigation and ^ g
                                                                                                               cn

                                                                                                "S
inspection of the property, prepared a report that failed to include all of the damages that were^ g

observed during the inspection, and undervalued the damages observed during the inspection.             ^

       11.     This unreasonable investigation led to the underpayment of PlaintifTs claim.
  Case 4:19-cv-02173 Document 1-3 Filed on 06/17/19 in TXSD Page 10 of 29




       12.     Moreover, Hartford performed an outcome-oriented investigation of PlaintifTs

claim, which resulted in a biased, unfair and inequitable evaluation of Plaintiffs losses on the

property.


                                                 VI.
                                      CAUSES OF ACTION


       13.     Each of the foregoing paragraphs is incorporated by reference in the following:

A.     Breach of Contract


       14.     Hartford had a contract ofinsurance with Plaintiff. Hartford breached the terms of


that contract by wrongfully denying and/or underpaying the claim and Plaintiff was damaged

thereby.

B.     Prompt Payment of Claims Statute

       15.     The failure of Hartford to pay for the losses and/or to follow the statutory time

guidelines for accepting or denying coverage constitutes a violation of Section 542.051 et seq. of               /

the Texas Insurance Code.


       16.     Plaintiff, therefore, in addition to Plaintiffs claim for damages,is entitled to interest
                                                                                                           .2
and attorneys' fees as set forth in Section 542.060 of the Texas Insurance Code.                            g
                                                                                                           :r~

C.     Bad Faith                                                                                           % S.

       17.     Defendant is required to comply with Chapter 541 of the Texas Insurance Code.

       18.     Defendant violated Section 541.051 of the Texas Insurance Code by:                          .a> ^
                                                                                                                 o


              (1)      making statements misrepresenting the terms and/or benefits ofthe policy. ^
       19.     Defendant violated Section 541.060 by:

              (1)      misrepresenting to Plaintiff a material fact or policy provision relating to

                      coverage at issue;
  Case 4:19-cv-02173 Document 1-3 Filed on 06/17/19 in TXSD Page 11 of 29




              (2)     failing to attempt in good faith to effectuate a prompt, fair, and equitable

                      settlement of a claim with respect to which the insurer's liability had

                      become reasonably clear;

              (3)     failing to promptly provide to Plaintiff a reasonable explanation ofthe basis

                      in the policy, in relation to the facts or applicable law, for the insurer's

                      denial of a claim or offer of a compromise settlement of a claim;

              (4)     failing within a reasonable time to affirm or deny coverage of a claim to

                      Plaintiff or submit a reservation of rights to Plaintiff; and

              (5)     reftising to pay the claim without conducting a reasonable investigation with

                      respect to the claim;

       20.     Defendant violated Section 541.061 by:

              (1)     making an untrue statement of material fact;

              (2)     failing to state a material fact necessary to make other statements made not

                      misleading considering the circumstances under which the statements were

                      made;                                                                           cs
                                                                                                      o



              (3)     making a statement in a manner that would mislead a reasonably prudent S
                      person to a false conclusion of a material fact;                                %^
                                                                                                       I!
                                                                                                      «=>   ^

              (4)     making a material misstatement of law; and                                      v> Q

              (5)     failing to disclose a matter required by law to be disclosed.                   1'^
                                                                                                      rtr   o


       21.     Defendant's violations of Chapter 541 of the Texas Insurance Code enumerated

above caused damages to Plaintiff in at least the amount of policy benefits wrongfully withheld.
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        22.       Defendant knowingly committed the acts complained of. As such, Plaintiff is

entitled to exemplary and/or treble damages pursuant to Texas Insurance Code Section 541.152(a)-

(b).

D.      Attorneys' Fees

        23.       Plaintiff engaged the undersigned attorney to prosecute this lawsuit against

Defendant and agreed to pay reasonable attorneys' fees and expenses through trial and any appeal.

        24.       Plaintiff is entitled to reasonable and necessary attorney's fees pursuant to Texas

Civil Practice and Remedies Code Sections 38.001-38.003 because he is represented by an

attorney, presented the claim to Defendant, and Defendant did not tender the just amount owed

before the expiration of the 30^ day after the claim was presented.

       25.        Plaintiff further prays that he be awarded all reasonable attorneys' fees incurred in

prosecuting his causes of action through trial and any appeal pursuant to Sections 541.152 and

542.060 of the Texas Insurance Code.


                                                  VII.
                                    CONDITIONS PRECEDENT
                                                                                                          c=
                                                                                                          o
       26.        All conditions precedent to PlaintifTs right to recover have been fully performed,
                                                                                                          5=2 » »

or have been waived by Defendant.

                                            VIII.                                                         ^^
                                     DISCOVERY REOUESTS                                                   ^

       27.        Pursuant to Rule 194, you are requested to disclose, within fifty (50) days after ^ o

service of this request, the information or material described in Rule 194.2(a)-(l).                      ^

       28.        You are also requested to respond to the attached interrogatories, requests for

production, and requests for admissions within fifty(50) days, in accordance with the instructions

stated therein.
  Case 4:19-cv-02173 Document 1-3 Filed on 06/17/19 in TXSD Page 13 of 29




                                                IX.
                                            PRAYER


        WHEREFORE, PREMISES CONSIDERED, Thomas R. Bobo prays that, upon final

hearing of the case, he recover all damages from and against Defendant that may reasonably be

established by a preponderance of the evidence, and that Mr. Bobo be awarded attorneys' fees

through trial and appeal, costs of court, pre-judgment interest, post-judgment interest, and such

other and further relief, general or special, at law or in equity,to which Mr. Bobo may show himself

to be justly entitled.


                                              Respectfully submitted,

                                             Daly & Black,P.C,

                                             By:_ /s/ Aaron Bender
                                                      Aaron Bender
                                                      TBANo. 24101502
                                                      abender@dalyblack.com
                                                      Richard D. Daly
                                                      TBA No. 00796429
                                                      rdaly@dalyblack.com
                                                      ecfs@dalyblack.com
                                                      2211 Norfolk St., Suite 800
                                                      Houston, Texas 77098
                                                      713.655.1405—Telephone
                                                      713.655.1587—Fax


                                                      ATTORNEYS FOR PLAINTIFF
                                                      THOMAS R. BOBO




                                                                     I, Melisa Miller, do hereby Certifv.^Li
                                                                     pages in CausAziX2l^£6-being a
                                                                     true and correct copy of the Original
                                                                     Record now on file in the District Clerk's
                                                                     Office of Montgomery County, Texas.
                                                                     Witness       iai Seal oii^llce in Conwe,Texas
                                                                     On This the
                                                                                                         .Deputy
  Case 4:19-cv-02173 Document 1-3 Filed on 06/17/19 in TXSD Page 14 of 29




                    PLAINTIFF'S FIRST SET OF INTERROGATORIES,
         REOUESTS FOR PRODUCTION AND REOUESTS FOR ADMISSIONS

        COMES NOW Plaintiff in the above-styled and numbered cause, and requests that

Defendant(1) answer the following discovery requests separately and llilly in writing under oath

within 30 days ofservice(or within 50 days ofservice ifthe discovery was served prior to the date

an answer is due);(2) produce responsive documents to the undersigned counsel within the same

time period; and (3) serve its answers to these discovery requests within the same time period to

Plaintiff by and through his attorneys of record, Daly & Black, P.C, 2211 Norfolk St, Suite 800,

Houston, Texas 77098.

                                            Respectlully submitted,

                                            Daly & Black,P.C.

                                            By:_ /s/ Aaron Bender
                                                    Aaron Bender
                                                    TBANo. 24101502
                                                                                                o
                                                    abender@dalyblack.com                             c



                                                    Richard D. Daly                                   cn
                                                                                                      o
                                                                                                c_
                                                    TBANo. 00796429                             o     CO
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                                                    rdaly@dalyblack.com                         o     =3

                                                    ecfs@dalyblack.com                          xn
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                                                                                                      fir

                                                    2211 Norfolk St., Suite 800                ~o .2^
                                                                                               -S?
                                                    Houston, Texas 77098                       ft—    o
                                                    713.655.1405—Telephone                      E_
                                                                                                CV)
                                                    713.655.1587—Fax


                                                    ATTORNEYS FOR PLAINTIFF
                                                    THOMAS R. BOBO



                                   CERTIFICATE OF SERVICE


       I hereby certify that I sent a true and correct copy of the attached discovery requests to
Defendant(s) as an attachment to the petition. Therefore, Defendant would have received it when
it was served with the citation.


                                                   /s/Aaron Bender
                                                    Aaron Bender
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                                   INSTRUCTIONS



 A.    These Responses call for your personal and present knowledge, as well as the present
       knowledge of your attorneys, investigators and other agents, and for information
       available to you and to them.

 B.   Pursuant to the applicable rules of civil procedure, produce all documents responsive
      to these Requests for Production as they are kept in the usual course of business or
      organized and labeled to correspond to the categories in the requests within the time
      period set forth above at Daly & Black, P.C.

 C.   If you claim that any document or information which is required to be identified or
      produced by you in any response is privileged, produce a privilege log according to the
      applicable rules of civil procedure.

       1. Identify the document's title and general subject matter;
      2. State its date;
      3.   Identify all persons who participated in its preparation;
      4.   Identify the persons for whom it was prepared or to whom it was sent;
      5.   State the nature of the privilege claimed; and
      6.   State in detail each and every fact upon which you base your claim for privilege.

 D.   If you claim that any part or portion of a document contains privileged information,
      redact only the part(s) or portion(s) of the document you claim to be privileged.
                                                                                                   o
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 E.   If you cannot answer a particular Interrogatory in full after exercising due diligence tofj       cn

      secure the information to do so, please state so and answer to the extent possible, ^             a



      specifying and explaining your inability to answer the remainder and stating whatever ^ ^
      information or knowledge you have concerning the unanswered portion.
                                                                                                o ^
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 F.   You are also advised that you are under a duty to seasonably amend your responses if.^ ^
      you obtain information on the basis of which:                                      ^
                                                                                                   CD

      1. You know the response made was incorrect or incomplete when made; or           *
      2. You know the response, though correct and complete when made, is no longer true
         and complete, and the circumstances
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                                     DEFINITIONS


 A.   "Defendant,""You," "Your(s)," refers to Hartford Lloyd's Insurance Company, its
      agents, representatives, employees and any other entity or person acting on its behalf.

 B.   "Plaintiff refers to the named Plaintiff in the above-captioned suit.

 C.   "The Property(ies)" refers to the property or properties located at the address(es)
      covered by the Policy.

 D.   "The Policy" refers to the policy issued to Plaintiff by the insurer and at issue in this
      lawsuit.


 E.   "The Claim(s)" means the claim for insurance benefits submitted by Plaintiff and at
      issue in this lawsuit, or in a prior claim, as the context may dictate.

 F.   "Date of Loss" refers to the date(s) of loss identified in Plaintiffs live
      petition/complaint or other written or oral notice, or otherwise assigned to the claim by
      the insurer.


 G.   "Handle" or "Handled" means investigating, adjusting, supervising, estimating,
      managing, settling, approving, supplying information or otherwise performing a task
      or work with respect to the claim(s) at issue in this lawsuit, excluding purely ministerial
      or clerical tasks.


 H.   "Lawsuit" refers to the above styled and captioned case.

 I.   "Communication" or "communications" shall mean and refer to the transmission or
      exchange of information, either orally or in writing, and includes without limitation
      any conversation, letter, handwritten notes, memorandum, inter or intraoffice c=
      correspondence, electronic mail, text messages, or any other electronic transmission,
      telephone call, telegraph, telex telecopy, facsimile, cable, conference, tape recording, ^
                                                                                                    TTz:   cr»
      video recording, digital recording, discussion, or face-to-face communication.                ■t—    C3


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 J.   The term "Document" shall mean all tangible things and data, however stored, as set
      forth in the applicable rules of civil procedure, including, but not limited to all original O
                                                                                                       2^
      writings of any nature whatsoever, all prior drafts, all identical copies, all nonidentical
      copies, correspondence, notes, letters, memoranda of. telephone conversations, tirr o                1=:



      telephone messages or call slips, interoffice memoranda, intraoffice memoranda, client
                                                                                                    CO
      conference reports, files, agreements, contracts, evaluations, analyses, records, O
      photographs sketches, slides, tape recordings, microfiche, communications, printouts,
      reports, invoices, receipts, vouchers, profit and loss statements, accounting ledgers,
      loan documents, liens, books of accounting, books of operation, bank statements,
      cancelled checks, leases, bills of sale, maps, prints, insurance policies, appraisals,
      listing agreements, real estate closing documents, studies, summaries, minutes, notes,
      agendas, bulletins, schedules, diaries, calendars, logs, announcements, instructions.
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         charts, manuals, brochures, schedules, price lists, telegrams, teletypes, photographic
         matter, sound reproductions, however recorded, whether still on tape or transcribed to
         writing, computer tapes, diskettes, disks, all other methods or means of storing data,
         and any other documents. In all cases where originals, prior drafts, identical copies, or
         nonidentical copies are not available;"document" also means genuine, true and correct
         photo or other copies of originals, prior drafts, identical copies, or nonidentical copies.
         "Document" also refers to any other material, including without limitation, any tape,
         computer program or electronic data storage facility in or on which any data or
         information has been written or printed or has been temporarily or permanently
         recorded by mechanical, photographic, magnetic, electronic or other means, and
         including any materials in or on which data or information has been recorded in a
         manner which renders in unintelligible without machine processing.

 K.      The term "referring" or "relating" shall mean showing, disclosing, averting to,
         comprising, evidencing, constituting or reviewing.

 L.      The singular and masculine form of any noun or pronoun includes the plural, the
         feminine, and the neuter.

 M.      The terms "identification," "identify," and "identity" when used in reference to:

      1. Natural Persons: Means to state his or her full name, residential address, present or
         last known business address and telephone number, and present or last known position
         and business affiliation with you;
      2. Corporate Entities: Means to state its full name and any other names under which it
         does business, its form or organization, its state of incorporation, its present or last
         known address, and the identity of the officers or other persons who own, operate, or
         control the entity;
      3. Documents: Means you must state the number of pages and nature of the document
         (e.g. letter or memorandum), its title, its date, the name or names of its authors and ^
         recipients, its present location and custodian, and if any such document was, but no
         longer is, in your possession or control, state what disposition was made of it, the date _§ s
         thereof, and the persons responsible for making the decision as to such disposition;       ^
      4. Communication: Requires you, if any part of the communication was written, to ^ ^
         identify the document or documents which refer to or evidence the communication and, o ^
         to the extent that the communication was non-written, to identify each person                        "g
          participating in the communication and to state the date, manner, place, and substance        «     cn

         of the communication; and
                                                                                                        Vtr   o
      5. Activity: Requires you to provide a description of each action, occurrence, transaction
         or conduct, the date it occurred, the location at which it occurred, and the identity of all
         persons involved.

 N.      The term "Claim File" means the claim files and "field file(s)," whether kept in paper
         or electronic format, including but not limited to all documents, file jackets, file notes,
         claims diary or journal entries, log notes, handwritten notes, records of oral
         communications,communications, correspondence, photographs, diagrams, estimates,
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           reports, recommendations, invoices, memoranda and drafts ofdocuments regarding the
           Claim.


   O.      The term "Underwriting File" means the entire file, including all documents and
           information used for underwriting purposes even if you did not rely on such documents
           or information in order to make a decision regarding insuring Plaintiffs Property.



                             NOTICE OF AUTHENTICATION


       You are advised that pursuant to Tex. R. Civ. P. 193.7, Plaintiff intends to use all
documents exchanged and produced between the parties, including but not limited to
correspondence and discovery responses during the trial ofthe above-entitled and numbered cause.




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                  INTERROGATORIES TO DEFENDANT HARTFORD


INTERROGATORY NO. 1:
Identify all persons answering or supplying any information in answering these interrogatories.

       ANSWER:


INTERROGATORY NO.2:
Identify all persons who were involved in evaluating Plaintiffs claim and provide the following
information for each person you identify:

       a.      their name and job title(s) as of the Date of Loss;
       b.      their employer; and
       c.      description of their involvement with PlaintifTs Claim.

       ANSWER:


INTERROGATORY NO.3:
If you contend that the some or all of the damages to the Property were not covered losses under
the Policy, describe:

       a.     the scope,cause and origin ofthe damages you contend are not covered losses under
              the Policy; and
       b.     the term(s) or exclusion(s) ofthe Policy you relied upon in support of your decision
              regarding the Claim.

       ANSWER:


INTERROGATORY NO.4:                                                                               .2
State whether the initial estimate you issued was revised or reconciled, and if so, state what wasg ^
changed and who did it.                                                                           ^ m
                                                                                                         CJ



       ANSWER:                                                                                       ^
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INTERROGATORY NO.5:                                                                                    .ot
If you contend that Plaintiff did not provide you with requested information that was required to ^
properly evaluate Plaintiffs Claim, identify the information that was requested and not provided,^ ®
and the dates you made those request(s).                                                             ^
       ANSWER:


INTERROGATORY NO.6:
If you contend that Plaintiffs acts or omissions voided, nullified, waived or breached the Policy
in any way, state the factual basis for your contention(s).

       ANSWER:
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INTERROGATORY NO.7:
If you contend that Plaintiff failed to satisfy a condition precedent or covenant ofthe Policy in any
way, state the factual basis for your contention(s).

        ANSWER:


INTERROGATORY NO.8:
Identify the date you first anticipated litigation.

        ANSWER:


INTERROGATORY NO.9:
State the factual basis for each of your affirmative defenses.

        ANSWER:


INTERROGATORY NO. 10:
If you contend that Plaintiff failed to provide proper notice of the claim made the basis of this
lawsuit, describe how the notice was deficient, and identify any resulting prejudice.

        ANSWER:


INTERROGATORY NO. II:
If you contend that Plaintiff failed to mitigate damages, describe how Plaintiff failed to do so, and
identify any resulting prejudice.

        ANSWER:


INTERROGATORY NO. 12:
Identify all items on the claim made the basis of this Lawsuit to which Defendant applied
depreciation, stating for each item the criteria used and the age of the item.
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        ANSWER:                                                                                         ^M
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                REQUEST FOR PRODUCTION TO DEFENDANT HARTFORD


REQUEST FOR PRODUCTION NO. 1
Produce a certified copy of all Policies you issued to Plaintiff for the Property that were in effect
on the Date of Loss.


         RESPONSE:


REQUEST FOR PRODUCTION NO.2
If you contend that any prior claims Plaintiff submitted for damages to the Property affected your
decision in relation to the Claim at issue, produce a certified copy of all policies you issued to
Plaintiff for the Property that were in effect during the handling of those claim(s).

         RESPONSE:


REQUEST FOR PRODUCTION NO.3
Produce a copy of the declarations pages you issued for the Property in the three (3) years
preceding the Date of Loss.

         RESPONSE:


REQUEST FOR PRODUCTION NO.4
Produce your complete Underwriting File for Plaintiffs policy of insurance with you.

         RESPONSE:


REQUEST FOR PRODUCTION NO.5
Produce the complete Claim File including all documents and communications regarding the g
Claim.
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                                                                                                        :p   o>
         RESPONSE:
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                                                                                                        o ^
REQUEST FOR PRODUCTION NO.6
                                                                                                             o
Produce the Claim Files regarding the Claim of any third-party you hired and/or retained to CJ          v>


investigate, consult on, handle and/or adjust the Claim.                                   "o
                                                                                                             o

         RESPONSE:                                                                                      t:
         ' '■                                                                                            o
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REQUEST FOR PRODUCTION NO.7
If you contend that any prior claims Plaintiff submitted for damages to the Property affected your
decision in relation to the Claim at issue, produce the complete Claim File regarding those prior
claim(s).

        RESPONSE:


REQUEST FOR PRODUCTION NO.8
Produce all documents Plaintiff(or any other person) provided to you related to the Claim or the
Property.

        RESPONSE:


REQUEST FOR PRODUCTION NO.9
Produce all documents you provided to Plaintiff(or any other person) related to the Claim or the
Property.

        RESPONSE:


REQUEST FOR PRODUCTION NO. 10
Produce all documents (including reports, surveys, appraisals, damage estimates, proofof loss, or
adjuster's report(s)) referring to the Claim, the Property or damage to the Property.

        RESPONSE:


REQUEST FOR PRODUCTION NO. 11
Produce color copies of all visual reproductions of the Property taken either prior to, at the time
of, or after the Date of Loss (including diagrams, drawings, photographs, video records, ^
videotapes, or other information).                                                                 .2
                                                                                                   "5
        RESPONSE:
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REQUEST FOR PRODUCTION NO.12                                                                           ^g
Produce the personnel file for anyone you (or an adjusting firm) assigned to participate in   "5
evaluating damage to Plaintiffs Property, including performance reviews/evaluations. This *=*
request is limited to the three(3) years prior to the Date of Loss and one(1) year after the Date of       ^
                                                                                                           o
Loss.


        RESPONSE:                                                                                      ^
REQUEST FOR PRODUCTION NO. 13
Produce your claim handling manual(s)(including operating guidelines) in effect on the Date of
Loss related to your claims practices, procedures and standards for property losses and/or wind
and hail storm claims, for persons handling claims on your behalf.

        RESPONSE:
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REQUEST FOR PRODUCTION NO. 14
Produce your property claims training manual and materials in effect on the Date of Loss, for
persons handling, investigating and adjusting claims.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 15
The file from the office of Plaintiffs insurance agent concerning Plaintiffs Property.

       RESPONSE:


REQUEST FOR PRODUCTION NO. 16
Produce all communications between any of your claims personnel, claims handlers, field
adjusters, office adjusters, and their direct or indirect supervisors related to the investigation,
handling, and settlement of Plaintiffs Claim.

       RESPONSE:


REQUEST FOR PRODUCTION NO. 17
Produce all written communications you sent to, or received from, any independent adjusters,
engineers, contractors, estimators, consultants or other third-parties who participated in
investigating, handling, consulting on, and/or adjusting Plaintiffs Claim.

       RESPONSE:


REQUEST FOR PRODUCTION NO. 18
Produce all written and/or electronic communications you sent to, or received from, Plaintiffs
                                                                                               o
insurance agent related to the Claim, the Property, the Plaintiff or this Lawsuit.             os
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       RESPONSE:                                                                                       Ss
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REQUEST FOR PRODUCTION NO. 19
                                                                                                       o
Produce all written and/or electronic communications you sent to, or received fi-om, any local,             O-l


state, or governmental entity related to the Claim, the Property, the Plaintiff or this Lawsuit.            *=
                                                                                                      rt o

       RESPONSE:                                                                                       ^
REQUEST FOR PRODUCTION NO.20
Produce all written and/or electronic communications you sent to, or received, from Plaintiff
and/or any other named insured on the Policy related to the Claim, the Property, or this Lawsuit.

       RESPONSE:




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REQUEST FOR PRODUCTION NO.21
Produce all bulletins, notices, directives, memoranda,internal newsletters, publications, letters and
alerts directed to all persons acting on your behalfthat were issued from six(6) months before and
after the Date of Loss related to the handling of wind or hail storm claims in connection with the
storm at issue.


       RESPONSE:


REQUEST FOR PRODUCTION NO.22
Produce the contract(s), agreement{s) and/or written understanding(s) with any independent
adjusters or adjusting firms who you retained to investigate, handle and/or adjust Plaintiffs Claim
on your behalf that were in effect on the Date of Loss.

       RESPONSE:


REQUEST FOR PRODUCTION NO.23
Produce the contract(s), agreement(s) and/or written understanding(s) with any engineers and/or
engineering firms you retained to investigate, handle and/or adjust Plaintiffs Claim on your behalf
that were in effect at the time of his/her investigation, handling and/or adjustment of Plaintiff s
claim, either pre or post-lawsuit.

       RESPONSE:


REQUEST FOR PRODUCTION NO.24
Produce the "Pay sheet,""Payment Log," or list of payments made on Plaintiffs Claim, including
all indemnity, claim expenses and payments made to third-parties.
                                                                                                        o
       RESPONSE:                                                                                        O s

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REQUEST FOR PRODUCTION NO.25                                                                            g 2"
Produce all billing statements, including billing detail, showing the amounts you paid or for which o
you were billed by any independent adjusters or adjusting firms who inspected Plaintiffs Property ^ a
in connection with the Claim.                                                                           TD
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       RESPONSE:




REQUEST FOR PRODUCTION NO.26
Produce all billing detail showing the amounts you paid or for which you were billed by any
engineer and/or engineering firm who inspected Plaintiffs Property in connection with the Claim,
whether pre or post-lawsuit.

       RESPONSE:




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REQUEST FOR PRODUCTION NO.27
Produce all estimates, reports or memoranda, including drafts of the same, created for you or by
any independent adjusters or adjusting finns in connection with the Claim.

        RESPONSE:


REQUEST FOR PRODUCTION NO. 28
Produce all estimates, reports, or memoranda, including drafts ofthe same, created for you by any
engineers and/or engineering firms in connection with the Claim.

        RESPONSE:


REQUEST FOR PRODUCTION NO.29
Produce all statements given by anyone, oral or written, to you or any of your agents, related to
Plaintiffs Claim and/or any issue in Plaintiffs live petition

       RESPONSE:


REQUEST FOR PRODUCTION NO.30
Pursuant to the applicable rules of evidence, produce all documents evidencing conviction of a
crime which you intend to use as evidence to impeach any party or witness.

       RESPONSE:
                                                                                               g
REQUEST FOR PRODUCTION NO.31
Produce all documents you identified, referred to, or relied upon in answering Plaint§$s»)
interrogatories.

       RESPONSE:                                                                                   M
                                                                                               ^ crt
REQUEST FOR PRODUCTION NO.32                                                                   "§ ^
Produce all non-privileged documents you identified, referred to, or relied upon in developifig, o
answering and/or formulating your Answer and/or Affirmative Defenses to Plaintiff s live petiti^.

       RESPONSE:


REQUEST FOR PRODUCTION NO.33
Produce copies of all documents you intend to offer as evidence at the trial of this matter.

       RESPONSE:




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REQUEST FOR PRODUCTION NO.34
Produce copies of all documents relating to your declaration of the storm alleged to have caused
damage to PlaintifTs Property as a "catastrophe."

       RESPONSE:


REQUEST FOR PRODUCTION NO.35
Produce copies of your engagement letter/fee agreement between you (or whatever entity or
person is paying your attorney's fee bills) and your attorneys in this matter.

       RESPONSE:


REQUEST FOR PRODUCTION NO.36
Produce copies of your attomey's[s'] fee bills in this matter.

       RESPONSE:


REQUEST FOR PRODUCTION NO.37
If this claim involves reinsurance, produce copies of the policy or agreement pertaining to that
reinsurance.


       RESPONSE:


REQUEST FOR PRODUCTION NO.38
If an attorney was involved in evaluating payment or coverage of Plaintiffs Claim pre-suit,
provide all documents relating to that evaluation or recommendation.
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       RESPONSE:                                                                                   ^^
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              REQUEST FOR ADMISSIONS TO DEFENDANT HARTFORD


REQUEST FOR ADMISSION NO. 1:
Admit that on Date of Loss the Property sustained damages caused by a windstorm.

       RESPONSE:


REQUEST FOR ADMISSION NO. 2:
Admit that on Date of Loss the Property sustained damages caused by a hailstorm

       RESPONSE:


REQUEST FOR ADMISSION NO.3:
Admit that as of the Date of Loss the Policy was in full force and effect.

       RESPONSE:


REQUEST FOR ADMISSION NO.4:
Admit that as of the Date of Loss all premiums were fully satisfied under the Policy.

       RESPONSE:


REQUEST FOR ADMISSION NO.5:
Admit that the Policy is a replacement cost value policy.

       RESPONSE:                                                                            g
                                                                                            "S
REQUEST FOR ADMISSION NO.6:                                                                       "si
Admit that the Policy is an actual cash value policy.

       RESPONSE:                                                                             P =3
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REQUEST FOR ADMISSION NO.7:                                                                  0>
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Admit that aside from the Claim at issue. Plaintiff has never previously submitted a claim to you^ o
for damage to the Property.                                                                  ^

       RESPONSE:




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REQUEST FOR ADMISSION NO.8:
Admit that you did not request a Sworn Proof of Loss from Plaintiff in connection with the
Claim at issue.


       RESPONSE:


REQUEST FOR ADMISSION NO.9:
Admit that you did not request a Sworn Proof of Loss from any other named insirred on the
Policy in connection with the Claim at issue.

       RESPONSE:


REQUEST FOR ADMISSION NO. 10:
Admit that Plaintifftimely submitted the Claim.

       RESPONSE:


REQUEST FOR ADMISSION NO. 11:
Admit that your decision to deny or partially deny Plaintiffs Claim was made in whole or in part
on the basis that third parties were responsible for causing damages to the Property.

       RESPONSE:


REQUEST FOR ADMISSION NO. 12:
Admit that Defendant's decision to deny or partially deny Plaintiff s Claim was made in whole
or in part on the basis that the claimed damages are not covered by the Policy.

       RESPONSE:
                                                                                                _o

REQUEST FOR ADMISSION NO. 13:                                                                 .S
Admit that Defendant's decision to deny or partially deny Plaintiff s Claim was made in whole ^
or in part on the timeliness of the Claim's submission.                                        o^
                                                                                                   o


       RESPONSE:
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REQUEST FOR ADMISSION NO. 14:
Admit that you depreciated the costs of labor when determining the actual cash value of the
Claim at issue.


       RESPONSE:


REQUEST FOR ADMISSION NO. 15:
Admit that the adjuster assigned to investigate the Claim did not review the underwriting file at
any time during the adjustment of the Claim.

       RESPONSE:


REQUEST FOR ADMISSION NO. 16:
Admit that the Claim was reviewed by persons other than people who actually inspected the
Property.

       RESPONSE:


REQUEST FOR ADMISSION NO. 17:
Admit that you reinsured the risk under Plaintiffs Policy.

       RESPONSE:




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